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                         UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                          Bankruptcy Judge Thomas B. McNamara


  In re:
                                                 Bankruptcy Case No. 23-11622 TBM
  EARTHSNAP, INC.,                               Chapter 11 (Subchapter V)

  Debtor.
_________________________________________________________________________

               ORDER DENYING CONFIRMATION OF PLAN AND
                FOR COMPLIANCE WITH 11 U.S.C. § 1190(1)(C)
_________________________________________________________________________

       THIS MATTER comes before the Court on the “Plan Dated July 18, 2023 for Small
Business Under Chapter 11, Subchapter V” (Docket No. 54, the “Plan”) filed by the Debtor,
Eric Ralls (the “Debtor”) on July 18, 2023.

       Pursuant to 11 U.S.C. § 1190(1), a plan filed under Subchapter V of Chapter 11 shall
include:

              (A) a brief history of the business operations of the debtor;
              (B) a liquidation analysis; and
              (C) projections with respect to the ability of the debtor to make
              payments under the proposed plan of reorganization.

       The Court has reviewed the Plan and has determined that it does not meet the
requirements of 11 U.S.C. § 1190(1)(C) because it does not contain any projections with
respect to the ability of the Debtor to make payments under the Plan. Without such
required information, consideration of the Plan by the Court, creditors, and other parties in
interest would be a waste of time and resources. It is, therefore,

       ORDERED that confirmation of the Plan is DENIED.

      FURTHER ORDERED that the Debtor shall submit a Plan that is fully compliant with
11 U.S.C. § 1190 by no later than August 11, 2023. It is

      FURTHER ORDERED that the “Motion for Extension of Time to File Plan of
Reorganization” (Docket No. 53) is DENIED as moot.

       DATED this 21st day of July, 2023.
                                                   BY THE COURT:


                                                   __________________________
                                                   Thomas B. McNamara,
                                                   United States Bankruptcy Judge
